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  Under 28 U.S.C. § 1391(b), a civil action may be brought in: (1) a judicial district in which any defendant
  resides, if all defendants are residents of the State in which the district is located; (2) a judicial district in
  which a substantial part of the events or omissions giving rise to the claim occurred, or a substantial part of
  property that is the subject of the action is situated; or (3) if there is no district in which an action may
  otherwise be brought as provided in this section, any judicial district in which any defendant is subject to
  the court’s personal jurisdiction with respect to such action.

  Under Section 1391(c), a “natural person” resides in the district where the person is domiciled, and an
  “entity with the capacity to sue and be sued” resides in any judicial district where it is subject to personal
  jurisdiction with respect to the civil action in question. See 28 U.S.C. § 1391(c)(1), (2).

  The Court takes judicial notice of federal records available electronically and notes that Plaintiff has filed
  similar lawsuits across the country against Notre Dame and the United States, is the subject of at least one
  vexatious litigant pre-filing restriction in Indiana, and has been warned of potential sanctions in the Seventh
  Circuit and potential vexatious findings in other federal courts. See Patel v. Univ. of Notre Dame du Lac,
  No. 22-2251, 2023 WL 2387220, at *1 (7th Cir. Mar. 7, 2023), corrected, 2023 WL 2531330 (7th Cir. Mar. 16,
  2023), reh’g denied, 2023 WL 2776765 (7th Cir. Apr. 4, 2023); Patel v. United States, No. 21-CV-6553 (LTS),
  2021 WL 4267498 (S.D.N.Y. Sept. 20, 2021). The Court also notes that Plaintiff has filed at least two other
  actions in this Court that have been dismissed at an early stage of proceedings, Patel v. United Sates, No. CV
  23-7763-DSF (SK) and Patel v. United States, No. CV 23-6281-CBM (SK), the latter of which also resulted in
  a OBSSPX filing-restriction order BQQMJDBCMF UP UIBU DBTF POMZ.

  In the Complaint, Plaintiff indicates that he is a citizen and resident of Indiana, Notre Dame is a citizen of
  Indiana, and his factual allegations all appear to relate to his seeking readmission to the university’s law
  school after he was charged with pointing a gun at someone, “Google Searches” conducted in Indiana, and
  various violations of Indiana law and other authorities. (Docket No. 1 at 1, 12-22). Because the bulk of the
  alleged events involve parties and events that occurred outside of this District, venue is not proper in this
  Court under Section 1391(b)(2). Plaintiff’s lack of success in the Indiana state and federal courts, and the
  Seventh Circuit, does not create venue here. See, e.g., Patel, 2023 WL 2387220, at *1 (cataloging the
  extensive filing history after “Patel launched dozens of meritless lawsuits against Notre Dame”).

  Under 28 U.S.C. § 1406, if a plaintiff files a case in the wrong venue, the Court “shall dismiss, or if it be in
  the interest of justice, transfer such case to any district or division in which it could have been brought.” 28
  U.S.C. § 1406(a). Considering Plaintiff has pursued many actions unsuccessfully in Indiana, this Court
  declines to transfer the action and instead it is DISMISSED without prejudice. See 28 U.S.C. § 1406(a);
  Horswell v. Minnesota, 2019 WL 3416660, at *2 (D. Haw. July 29, 2019) (where venue is clearly wrong
  because defendant did not reside, and none of the events took place, in the filing district, and considering
  the result of plaintiff’s prior proceedings in the proper district, action may be dismissed without prejudice
  instead of transferring).

  In light of this dismissal, Plaintiff’s request to proceed in forma pauperis is DENIED, and all other pending
  matters are TERMINATED.




                                                                                            (attach additional pages if necessary)

CV-73 (07/22)             ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (NON-PRISONER CASE)
